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Attorney for Petitioner

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
 FRANK E. GABLE
                                                     Case No. 3:07-cv-00413-AC
                               Petitioner,
                                                     UNOPPOSED MOTION TO
                       v.                            MODIFY SCHEDULE

 MAX WILLIAMS,

                               Respondent.

       Petitioner, Frank Gable, through his attorney, Nell Brown, hereby moves for an order

modifying the briefing schedule set by the Court on May 16, 2019. CR 172. The parties agree to

the following proposed revised schedule: (1) Petitioner’s response is due no later than

May 31, 2019; (2) Respondent’s reply, limited to 10 pages, is due no later than June 14, 2019; (3)

Oral argument is to be scheduled for the week of June 17, 2019, at a time convenient to the Court.

This request is supported by the accompanying declaration. Assistant Attorneys General Samuel

Kubernick and Nicholas Kallstrom, counsel for Respondent, do not object to this motion.

       Respectfully submitted on May 21, 2016.

                                             /s/ Nell Brown
                                             Nell Brown, Assistant Federal Public Defender
                                             Attorney for Petitioner




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